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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


YTL POWER GENERATION SDN BHD,

                       Petitioner,
                                                           Case No. 15-cv-01686 (RC)
                v.

PETROLIAM NASIONAL BERHAD,

                       Respondent.


                     JOINT MOTION TO DISMISS WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Petitioner YTL Power Generation SDN BHD

(“YTL”) and Respondent Petroliam Nasional Berhad (“Petronas”) hereby jointly move to

dismiss the above-captioned action with prejudice. In support of this motion, the parties state the

following:

       (1)      On December 8, 2015, YTL filed a Notice of Voluntary Dismissal Without

Prejudice in this action. D.E. No. 10.

       (2)      The parties have fully and finally settled and released one another from all claims

that are, have been or could have been asserted by either of them against the other in the above-

captioned action.

        (3)     The parties agree that this action should be dismissed with prejudice and that this

Court’s order of dismissal of this action with prejudice shall replace in its entirety YTL’s Notice

of Voluntary Dismissal Without Prejudice, D.E. No. 10.

       (4)      While the docket in the above-captioned matter has been designated “closed,” on

December 16, 2015, counsel for YTL conferred with Judge Contreras’ chambers and was
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instructed that the aforementioned replacement may be effectuated by counsel for Petronas

entering an appearance and the parties’ filing a joint motion requesting dismissal with prejudice.

          (5)      Although it has not been served in this action, Petronas has entered an appearance

solely for purposes of this joint motion.

          (6)      Each party relinquishes any and all right to an appeal from the dismissal of this

action.

          (7)      Each party is to bear its own costs and fees with regard to this action.



YTL POWER GENERATION SDN BHD                             PETROLIAM NASIONAL BERHAD
By its attorneys,                                        By its attorneys,




/s/ James H. Boykin                                      /s/ Lawrence H. Martin
James H. Boykin                                          Lawrence H. Martin
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Attorneys for Petitioner YTL Power                       Attorneys for Respondent Petroliam Nasional
Generation Sdn Bhd                                       Berhad




Dated: December 30, 2015




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                                       /s/ Lawrence H. Martin
                                                      Lawrence H. Martin




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


YTL POWER GENERATION SDN BHD,

                      Petitioner,
                                                          Case No. 15-cv-01686 (RC)
               v.

PETROLIAM NASIONAL BERHAD,

                      Respondent.



                                     PROPOSED ORDER

               On the ____ day of ______________ 2016, it is hereby ORDERED that the joint

motion for dismissal be, and it hereby is, GRANTED and that the above-captioned case is

dismissed with prejudice, each party to bear its own costs and fees.



                                             _______________________________________
                                             THE HONORABLE RUDOLPH CONTRERAS
                                             United States District Judge




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